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                                         ORDERED.

     Dated: February 09, 2017




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


In re:
CHRISTINE LYNNE QUATTRY,                             Case No. 6:15-08657-CCJ
                                                     Chapter 13
              Debtor.
                                     /


  ORDER GRANTING AMENDED JOINT MOTION TO CONTINUE FEBRUARY 14,
           2017 HEARINGS AND RELATED DEADLINE (D.E. 101)

       This case came before the Court without a hearing upon the Amended Joint Motion to

Continue February 14, 2017 Hearings and Related Deadline filed by Wells Fargo Bank N.A. and

the Debtor (the “Amended Motion,” D.E. 101). After reviewing the pleadings, it is

        ORDERED:

       1.     The Amended Motion is GRANTED.

       2.     Wells Fargo and the Debtor have sixty (60) days from the date of this Order to

complete the mediation as ordered in the Order Directing Parties to Mediation (D.E. 93).
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       3.       All hearings currently scheduled in this matter for February 14, 2017, are

CONTINUED to May 9, 2017 at 2:45 p.m. in Courtroom 6D at 400 W. Washington Street,

Orlando, FL 32801.

       4.       Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that

all persons appearing in Court should dress in business attire consistent with their financial

abilities. Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not

acceptable.

       5.       Avoid delays at Courthouse security checkpoints. You are reminded that Local

Rule 5073−1 restricts the entry of cellular telephones and, except in Orlando, computers into

the Courthouse absent a specific order of authorization issued beforehand by the presiding judge.

Due to heightened security procedures, persons must present photo identification to enter the

Courthouse.



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Attorney Courtney A. McCormick is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and file a proof of service within 3 days of entry of the order.
